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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:18-cv-03893-RGK-AGR Date May 15, 2019

 

 

Title Munoz v. 7-Eleven, Inc.

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams (Not Present) Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) SCHEDULING NOTICE and ORDER re: Notice of
Settlement (DE 81)

On May 9, 2018, Edward Munoz (“Plaintiff”) filed a complaint against 7-Eleven, Inc.
(“Defendant”) in federal court on behalf of a class similarly situated alleging that the Defendant violated
sections 1681b(b)(2)(A)(i) and 1681b(b)(3) of the Fair Credit Reporting Act (““FCRA”), as well as
sections of California Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et seg.) (“UCL”).

On July 23, 2018, Plaintiff filed a First Amended Complaint (“FAC”). Plaintiff continues to
allege violations of section 1681b(b)(2)(A)(i) of the FCRA and the UCL, but eliminated his claim for
violation of § 1681b(b)(3) of the FCRA. On September 5, 2018, Defendant’s Motion to Dismiss for
Failure to State a Claim was denied. On October 18, 2018, the Court granted Plaintiff's Motion for Class
Certification.

On April 8, 2019, Defendant filed a Motion for Summary Judgment, which the Court took under
submission on May 8, 2019. Plaintiff filed a cross-Motion for Summary Judgment on April 17, 2019,
which the Court took under submission of May 15, 2019.

On May 14, 2019, with the motions for summary judgment pending, Plaintiff filed a Notice of
Settlement. After reviewing the Notice of Settlement, the Court ORDERS the following:

e The deadline for Plaintiff to file a Motion for Preliminary Approval of Class Action
Settlement is June 17, 2019; and

 

e The pending motions for summary judgment will remain under submission until June
24, 2019. In the event that a Motion for Preliminary Approval is not timely filed, the
Court will issue its ruling on the pending motions for summary judgment.

 

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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